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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR48
                              )
          v.                  )
                              )
ROY LENOS-PAZ,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for reduction of sentence pursuant to the November 1st, 2010,

amendments to U.S.S.G. (Filing No. 167).              The Court finds

plaintiff should file a response to said motion.               Accordingly,

           IT IS ORDERED that plaintiff shall file a response to

defendant’s motion on or before January 7, 2011.

           DATED this 17th day of November, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
